Case 8:17-cv-00826-MSS-AEP Document 76 Filed 09/26/19 Page 1 of 6 PageID 2671



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                     Case No: 8:17-cv-826-T-35AEP

SAID RUM,

      Defendant.



                                        ORDER

      THIS CAUSE comes before the Court for consideration of Defendant Said Rum’s

Motion for Summary Judgment, (Dkt. 30); the Response in opposition thereto filed by the

United States, (Dkt. 55); the United States’ Motion for Summary Judgment, (Dkt. 31); and,

the Response in opposition thereto filed by Defendant. (Dkt. 58)

      On August 2, 2019, United States Magistrate Judge Anthony E. Porcelli issued a

Report and Recommendation (“R&R”), recommending that the United States’ Motion for

Summary Judgment, (Dkt. 31) be GRANTED, and Defendant’s Motion for Summary

Judgment, (Dkt. 30), be DENIED. (Dkt. 71) On August 16, 2019, Defendant timely filed

his Objections to the Magistrate Judge’s R&R, (Dkt. 72), and on September 13, 2019, a

Response in opposition thereto was filed by the United States. (Dkt. 75)

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject or modify the Magistrate Judge’s

report and recommendation. 28 U.S.C. § 636(b)(1); Williams v. Wainwright, 681 F.2d 732,

732 (11th Cir. 1982), cert. denied, 459 U.S. 1112 (1983). A district judge “shall make a

de novo determination of those portions of the report or specified proposed findings or
Case 8:17-cv-00826-MSS-AEP Document 76 Filed 09/26/19 Page 2 of 6 PageID 2672



recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C). This requires

that the district judge “give fresh consideration to those issues to which specific objection

has been made by a party.” Jeffrey S. v. State Bd. of Educ., 896 F.2d 507, 512 (11th

Cir.1990) (quoting H.R. 1609, 94th Cong. § 2 (1976)). In the absence of specific

objections, there is no requirement that a district judge review factual findings de novo,

Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993), and the court may accept,

reject, or modify, in whole or in part, the findings and recommendations. 28 U.S.C. §

636(b)(1)(C). The district judge reviews legal conclusions de novo, even in the absence

of an objection. See Cooper-Houston v. Southern Ry., 37 F.3d 603, 604 (11th Cir. 1994).

       Defendant Rum lodged several objections to the R&R. Specifically he contends:

              The Magistrate Erred When He Found That as a Factual Matter, Rum
              Did Not Qualify for Mitigation.
              The Magistrate wrongly misconstrued that 31 U.S.C. § 5321
              superseded or invalidated 31 C.F.R. § 1010.820(g)(2). Therefore,
              the Magistrate erroneously held that the IRS properly applied 31
              U.S.C. § 5321 when assessing the willful penalty against Rum for
              50% of the balance of his account.
              The Magistrate Misstated an Important Question of Law That Was
              Proposed by Rum’s Pleadings. Rum Thus Argues that the Magistrate
              Erroneously Applied the Arbitrary and Capricious Standard of
              Review as to the Amount of His FBAR Penalty Instead of the De
              Novo Standard of Review.
              The Magistrate Erred by Stating That There Was No Issue of Fact
              Regarding Willfulness. Namely, the Magistrate Does Not Point to Any
              Direct Evidence Showing That Rum Knew He Had to File the FBAR
              Report; Therefore, there is Still A Major Question of Fact, Which
              Shouldn’t Be Decided by the Magistrate.
              The Magistrate Erroneously Concluded That the IRS Did Not Act
              Arbitrarily and Capriciously When Assessing the Maximum Statutory
              Penalty.
              The Magistrate Wrongly Considered the Question of What Evidence
              This Court May Consider in Reviewing Rum’s Administrative
              Procedure Act Claim.




                                             2
Case 8:17-cv-00826-MSS-AEP Document 76 Filed 09/26/19 Page 3 of 6 PageID 2673



              The Magistrate erroneously ignored the Supreme Court’s recent
              decision in [Dep’t of Commerce v. New York, 139 S. Ct. 2551 (2019)]
              by confining this Court to the administrative record.
              The Magistrate Erred by Concluding That Rum Received Proper
              Notice.
              The Magistrate Did Not Apply the Correct Standard of Review for A
              Motion for Summary Judgment.

(Dkt. 72)

       Having reviewed the R&R, the full record, the Objections, and the Response to the

Objections, the Court finds that the R&R should be ADOPTED in all respects. The

Magistrate Judge correctly: (A) found that the amount of the penalty was not limited by a

superseded regulation (Objection II); (B) applied the correct standard of review (Objection

III); (C) limited his review to the existing administrative record (Objections I, V, VI and VII);

(D) found that the IRS gave sufficient notice and a reasoned explanation for its decision

(Objection VIII); and (E) did not make inappropriate findings as to the Agency’s willfulness

or Mr. Rum’s credibility (Objections IV and IX). Just for clarity, the Court responds

specifically to a few of the challenges.

       First, with regard to Rum’s Objection that the “Magistrate wrongly misconstrued

that 31 U.S.C. § 5321 superseded or invalidated 31 C.F.R. § 1010.820(g)(2),” (Dkt. 72 at

3), Rum’s challenge fails. In short, the Court concurs with the Magistrate Judge’s ruling

that the Agency is without authority to modify the maximum penalty allowable under the

statute. While it may, in its discretion, impose a lower penalty, the Agency cannot

implement Rules that alter the statutory maximum. Thus, any penalty that is otherwise

justifiable on the record which does not exceed the statutory maximum cannot be found

to be in violation of the statute. As the Defendant properly notes, the Magistrate Judge’s

finding in this regard is




                                               3
Case 8:17-cv-00826-MSS-AEP Document 76 Filed 09/26/19 Page 4 of 6 PageID 2674



       in line with the vast majority of the courts that have considered the issue
       and the better reasoned decisions. See United States v. Schoenfeld, No.
       3:16-CV-1248-J-34PDB, 2019 WL 2603341, at *4 (M.D. Fla. June 25,
       2019); United States v. Garrity, No. 3:15-CV-243(MPS), 2019 WL 1004584,
       at *2 (D. Conn. Feb. 28, 2019); Norman v. United States, 138 Fed. Cl. 189,
       196 (2018); Kimble v. United States, 141 Fed. Cl. 373, 388 (2018); United
       States v. Horowitz, 361 F. Supp. 3d 511, 515–16 (D. Md. 2019); United
       States v. Park, 389 F. Supp. 3d 561, 571-74 (N.D. Ill. 2019). Indeed, ‘every
       court to have considered this issue since Wahdan and Colliot [the cases
       cited by Mr. Rum] has concluded that the statute and the regulation conflict,
       the statute controls, and, as such, the IRS is not bound by the limit in the
       regulation.’ Schoenfeld, 2019 WL 2603341, at *4.

(Dkt. 75 at 6)

       Additionally, in Objection IV and Objection IX, Mr. Rum incorrectly argues that the

Magistrate Judge applied the incorrect legal standard in affirming the Agency’s finding of

willfulness. (Dkt. 72 at 7‒10, 13‒17) Rum’s contention that willfulness in the civil context

requires “proof of a disregard of known legal duty,” (Dkt. 72 at 7), or that the Agency had

to demonstrate that he subjectively knew of the FBAR reporting requirement, (Dkt. 72 at

20), is incorrect. His reliance on Ratzlaf v. United States, 510 U.S. 135 (1994), for those

assertions is misplaced. Ratzlaf involved an alleged violation of a criminal statute: the

monetary penalty at issue in Mr. Rum’s case is a civil penalty. Under the appropriate civil

standard, the United States need not show that Mr. Rum subjectively knew or was

criminally culpable when he failed to meet the filing requirements. A showing of reckless

disregard of his statutory duty is sufficient, and this is an objective standard that evaluates

whether an action entails “an unjustifiably high risk of harm that is either known or so

obvious that it should be known.” Bedrosian v. United States, No. 2:15-cv-5853, 2017 WL

4946433 at *4 (E.D. Pa. 2017) (quoting Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 57

(2007)). The Magistrate Jude correctly found that the record sufficiently supported the

Agency’s finding in this regard.



                                              4
Case 8:17-cv-00826-MSS-AEP Document 76 Filed 09/26/19 Page 5 of 6 PageID 2675



       For this reason, too, Mr. Rum’s challenge to the Magistrate Judge’s decision on

the basis that the Judge “Did Not Apply the Correct Standard of Review for A Motion for

Summary Judgment” also fails. (Dkt. 72 at 19) Mr. Rum seems to suggest that the

Magistrate Judge improperly engaged in fact-finding at the summary judgement stage of

the case. (Dkt. 72 at 20) This assertion is plainly wrong. The Magistrate Judge was not

making a de novo determination that Mr. Rum’s testimony was not credible or deciding

whether Mr. Rum acted willfully. Rather, the Magistrate Judge reviewed the administrative

record, as he was constrained to do, 1 to determine whether the record supported the

Agency’s decision that Mr. Rum acted willfully. His evaluation of that record was sound,

and his conclusion was correct. 2

       In sum, the Court adopts the Magistrate Judge recommendation that the Court

affirm the Agency’s decision that Mr. Rum willfully failed to report his foreign account and

that the IRS did not abuse its discretion in assessing the maximum penalty for a willful

violation of the FBAR reporting requirement. Upon consideration of the Magistrate

Judge’s thorough and well-reasoned Report and Recommendation, and in conjunction

with an independent examination of the file, the Court is of the opinion that the Report

and Recommendation should be adopted, confirmed, and approved in all respects.




1
  This disposes of Objection VII in which Rum suggests the Magistrate Judge committed error in
declining to go outside the administrative record to consider his challenges to the Agency’s
decision. (Dkt. 72 at 17‒18) The Magistrate Judge correctly observed that “a court shall only
review the record before it to ensure that the agency engaged in reasoned decision-making.” (Dkt.
71 at 20). The Supreme Court’s decision in Dep’t of Commerce v. New York, 139 S. Ct. 2551
(2019), does not alter that longstanding precedent except in very limited circumstances not
present on this record.
2
 The remaining objections, not specifically addressed herein, are either bound up in the matters
here discussed, or are just a rehash of arguments made in the summary judgment motion, which
were thoroughly and correctly disposed of by the Magistrate Judge’s Report and
Recommendation.


                                               5
Case 8:17-cv-00826-MSS-AEP Document 76 Filed 09/26/19 Page 6 of 6 PageID 2676



Accordingly, it is ORDERED that:

      1.     The Report and Recommendation, (Dkt. 71), is CONFIRMED and

             ADOPTED as part of this Order; and

      2.     The United States’ Motion for Summary Judgment, (Dkt. 31), is GRANTED,

             and Defendant’s Motion for Summary Judgment, (Dkt. 30), is DENIED.

      3.     The Clerk is DIRECTED to enter FINAL JUDGMENT in favor of the United

             States. After entry of final judgment, the Clerk shall terminate any pending

             motions and CLOSE this case.

      DONE and ORDERED in Tampa, Florida, this 26th day of September, 2019.




Copies furnished to:
Counsel of Record
Any Unrepresented Person




                                           6
